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UBISOFT ENTERTAINMENT and
UBISOFT, INC.

                               UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT%OFCALIFORNIA

OG INTERNATIONAL LTD. and 0-GAMES,                     Case No.: 11-cv-4980          pfl
INC.,

                                Plaintiffs,            UBISOFT'S NOTICE OF MOTION AND
                                                       MOTION FOR TEMPORARY
                                                       RESTRAINING ORDER, FOR
                                                       PRELIMINARY INJUNCTION, AND FOR
UBISOFT ENTERTAINMENT and                              A BRIEFING SCHEDULE ON UBISOFT'S
UBISOFT, INC.,                                         MOTION FOR PRELIMINARY
                                                       INJUNCTION
                                Defendants.            HEARING: To Be Scheduled



        Pursuant to Federal Rule of Civil Procedure 65, Ubisofi Entertainment and Ubisofi, Inc.
(collectively, "Ubisof?')   respectfilly request that the Court enter a temporary restraining order to
prevent OG International Ltd. and 0-Games, Inc.'s (collectively, " O G ) anticipated November 1,
2011 release of their Get Up and Dance video game in the United States, and, thereafter, a


                                     UBISOFT'S NOTICE OF MOTION FOR TRO, FOR PRELIMINARY INJUNCTION, AND
                                 FOR A BRIEFING SCHEDULE ON UBISOFT'S MOTION FOR PRELIMINARY INJUNCTION
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preliminary injunction. OG's Get Up and Dance copies, in nearly identical expression, key visual
elements from Ubisoft's Just Dance series of video games, in violation of Ubisoft's valuable
copyrights and trade dress. Because OG plans to release Get Up and Dance in less than three week:
-   and is undoubtedly preparing for the release and nationwide distribution of Get Up and Dance even
as this motion is filed - a temporary restraining order is warranted to preserve the status quo until
Ubisoft's motion for preliminary injunction can be briefed and considered. See Sony Computei
Entertainment America LLC v. Hotz, 201 1 W L 347137, 1 (N.D. Cal. 201 1) (issuing TRO "to prevent
immediate and irreparable injury to [plaintiff] before the hearing on the       . . . preliminary injunction
can take place, and to preserve the status quo").          Absent a temporary restraining order and,
subsequently, a preliminary injunction, Get Up and Dance could be, as one online review put it, "the
knife in the [Just Dance] franchise before it even shows its face." http://7bitarcade.comlfeature-
postlget-up-and-dance-preview/.
         As is set forth in detail in the accompanying Memorandum in Support of Temporary
Restraining Order and Preliminary Injunction and supporting affidavits, Ubisoft will suffer
immediate and irreparable injury if the Court does not enjoin OG from releasing Get Up and
Dance. Clbisoft's copyright and trade dress rights protect at least two key visual elements that
distinguish the Just Dance series from other dance-based video games on the market             - the   avatar




                                    UBISOFT'S NOTICE OF MOTION FOR TRO, FOR PRELIMINARY INJUNCTION, AND         1
                                FOR A BRIEFING SCHEDULE ON UBISOFT'S MOTION FOR PRELIMlNARY INJUNCTION
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Il                         Avatars from Ubisoft's Just Dance series of video games
                                                                                                                                 I




                         Instructors from Ubisoft's Just Dance series of video games




              These elements e s t a b l i s h a r e c o g n i z a b l e brand c o n s i s t e n c y throughout the Just Dance
     s e r i e s . OG's anticipated Get Up and Dance v i d e o game, however, i l l e g a l l y and i m p r o p e r l y
     copies these e l e m e n t s and the trade dress which they c o m p r i s e :




                                               UBISOFT'S NOTICE OF MOTION FOR TRO, FOR PRELIMINARY INJUNCTION, AND
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&en that Get Up and Dance visually and aesthetically copies Ubisoft's Just Dance series,
:onsumers are and will be confused as to whether OG's Get Up and Dance is actually part of the
Just Dance series, or is a less-expensive authorized imitation. Once Get Up and Dance is
-eleased into the same U.S. distribution channels through which Ubisoft's Just Drrnce is sold,
:here will be no way to prevent Ubisoft's irreparable injury - OG's Get Up and Dance will be on
aetailers' shelves, sales will have been made, Ubisoft's customer loyalty will have been
lamaged, and the name recognition and popularity of Ubisoft's Just Dance series of video games
will have been reduced. The effects will permeate the Just Dance franchise, and there is no way
:o presently calculate or quantify the resulting harm to Ubisoft.
         Given the immediacy of OG's planned release of Get Up and Dance in less than three
weeks, Ubisoft seeks a temporary restraining order to maintain the status quo and prevent
~rreperableharm to Ubisoft until the Court can address Ubisoft's preliminary injunction request.
3nce a temporary restraining order is in place to immediately prevent OG from releasing Get Up
2nd Dance in the United States on November I, Ubisoft firther requests that the Court establish a
                                   UBISOFT'S NOTICE OF MOrlON FOR TRO, FOR PRELIMINARY INJUNCTION, AND
                               FOR A BRIEFING SCHEDULE ON UBISOFT'S MOTION FOR PRELIMlNARY INJUNCTION
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completion of briefing and a hearing if necessary. Ubisofi submits herewith proposed orders (1)
entering a TRO and providing for a briefing schedule and (2) entering a preliminary injunction for
the Court's consideration. This motion for temporary restraining order is not sought exparte - OG
already has appeared in this action, and Ubisoft is contemporaneously serving counsel for OG with
a copy of this motion and the supporting memorandum.



  Dated: October 12,201 1                           Respectfully submitted,
                                                    SHOOK, HARDY & BACON L.L.P.
                                                    By:
                                                           Attorney for Defendants
                                                           UBISOFT ENTERTAINMENT
                                                           and UBISOFT, INC.




                                 UBISOFT'S NOTICE OF MOTION FOR TRO, FOR PRELIMINARY INJUNCTION, AND
                             FOR A BRIEFING SCHEDULE ON UBISOFT'S MOTION FOR PRELIMINARY INJUNCTION
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schedule for prompt adjudication of Ubisoft's motion for preliminary injunction, including

completion of briefing and a hearing if necessary. Ubisoft submits herewith proposed orders (1)
entering a TRO and providing for a briefing schedule and (2) entering a preliminary injunction for

the Court's consideration. This motion for temporary restraining order is not sought ex parte      - OG

already has appeared in this action, and Ubisoft is contemporaneously serving counsel for OG with
a copy of this motion and the supporting memorandum.



  Dated: October 12, 201 1                          Respectfully submitted,
                                                    SHOOK, HARDY

                                                    By:      /'



                                                            Attorney for Defendants
                                                            UBISOFT ENTERTAINMENT
                                                            and UBISOFT, INC.




                                  UBISOR'S NOTICE OF MOTION FOR TRO, FOR PRELIMINARY INJUNCTION, AND
                              FOR A BRIEFING SCHEDULE ON UBISOFT'S MOTION FOR PRELIMINARY INJUNCTION
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